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                                              INTRODUCTION 
         This motion presents a single, simple, and dispositive question that could resolve all 
    other motions before this Court:  Can Acacia continue with its claim seeking to force 
    ViaSat to convey a loosely­defined set of patents that Acacia contends contain its 
    intellectual property?  The answer to this question is “no,” because Acacia has failed to 
    tender the evidence necessary to support its sole federal claim.  Because the answer to 
    this question is “no,” the Court should dismiss Acacia’s sole federal cause of action and 
    remand this action to the California state court whence it came, and where it belongs.   
                                                BACKGROUND 
        A.       The Undisputed Facts Regarding ViaSat’s Patents 
         The parties do not dispute the key facts regarding ViaSat’s patents—nor could they, 
    as they are matters of public record at the U.S. Patent and Trademark Office.  The parties 
    agree that on January 22, 2011, ViaSat filed a provisional patent application no. 
    61/435,278 (Ex. 11); and on August 8, 2011, ViaSat filed a second provisional patent 
    application no. 61/521,263.  Ex. 2.  The parties further agree that ViaSat subsequently 
    filed and obtained numerous patents claiming priority to those applications.  Docket No. 
    3, p. 9 at ¶ 18.  Finally, the parties agree that ViaSat retains all legal ownership of the 
    disputed patent family, and has not assigned any rights to Acacia.  Docket No. 3, p. 10 at 
    ¶¶ 22, 26, 28.  
        B.       The Broader Dispute Between ViaSat and Acacia 
         This case involves many disagreements between ViaSat and Acacia, most of which 
    the Court need not consider to resolve this motion.  At bottom, ViaSat alleges that Acacia 
    is using both ViaSat’s trade secrets and its Licensed Materials to create new 
    (unauthorized) products which utilize ViaSat’s soft decision forward error correction 
    (“SDFEC”) technology, in order to be fully interoperable with Acacia’s first generation, 



          All cited exhibits are attached to the Declaration of Erika H. Warren, filed 
             1

   concurrently. 
                       C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                    TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                             M ISAPPROPRIATION    
                                                    – 1 –                                        3:16­463­BEN­JMA  
                                                               
          
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    royalty­bearing product incorporating ViaSat’s SDFEC.  ViaSat claims that Acacia’s 
    conduct constitutes willful trade secret misappropriation, as well as breach of contract.   
         Acacia countersued, claiming that ViaSat improperly used certain information, 
    which Acacia alleges is “Foreground Information” under the governing contract, in 
    various ways, including in ViaSat’s own products.  ViaSat contests these allegations for 
    several reasons, including, for example, that this information is not “Foreground 
    Information” under the contract to begin with: “Foreground Information” is limited in 
    several material ways, including to information “first developed or first created by 
    VIASAT or its personnel in the performance of its services relating to Digital Signal 
    Processing under this Agreement,” thus excluding any and all information that ViaSat 
    possessed before the parties signed their agreement.  Ex. 3 ¶ 1(j).  Although ViaSat is 
    confident that it will prevail on this broader dispute, it includes questions of fact and must 
    go to the jury. 
         C.    The Narrow Issues Presented by Acacia’s Counterclaim for Patent 
               Misappropriation 
         To resolve this motion, the Court need consider only one much narrower and simpler 
    question: assuming that Acacia’s asserted trade secrets are protectable as “Foreground 
    Information,” and further assuming that Acacia’s asserted trade secrets appear in the 
    specification of ViaSat’s patents, can Acacia prevail on a “patent misappropriation” claim 
    or any other claim under 35 U.S.C. § 1?  Acacia’s expert Dr. Paul R. Prucnal admits he 
    examined only the ’278 and ’263 provisional applications; that is, he did not opine on, or 
    even review, any actual patents or even patent applications.  Ex. 4, Exhibit C (list of 
    materials considered).  Nor did Dr. Prucnal consider or analyze any patent claims.  No 
    other Acacia witness has considered or opined on these issues either.  Dr. Prucnal opines 
    only that one or both of the ’278 and ’263 provisional applications                                          
                                                                       .  Ex. 4 ¶¶ 16, 22, 26, 29, 35, 72, 
    75, 100, 102, 123, 145, 170.   Because Title 35 does not provide for a claim of “patent 
    misappropriation” or other equitable transfer of property, and because Acacia has 

                       C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                    TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                             M ISAPPROPRIATION    
                                                    – 2 –                                        3:16­463­BEN­JMA  
                                                               
          
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    presented no evidence in support of any claim of ownership actually arising under the 
    patent laws, the Court can easily dispense with Count I.   
                                                 ARGUMENT 
    I.   BECAUSE ACACIA CANNOT PREVAIL ON ANY CLAIM UNDER TITLE 
         35, VIASAT IS ENTITLED TO SUMMARY JUDGMENT ON PATENT 
         MISAPPROPRIATION 

         Count I of Acacia’s counterclaims starts with the assertion that the “ViaSat Patent 
    Family contains Foreground Information,” and jumps immediately to the conclusion that, 
    as a result, “Acacia thereby has an equitable interest in the ViaSat Patent Family”2 under 
    35 U.S.C. §1  et seq .  In the two years since Acacia filed its counterclaims, however, it has 
    done nothing to support this leap of logic.  Instead, Acacia’s Count I is entirely based on 
    two unsupported assumptions:  first, that the presence of Foreground Information in a 
    patent  specification  is sufficient to confer a federal right to replevin of that patent, and 
    second, that each member of the vaguely defined “ViaSat Patent Family” actually  claims 
    Foreground Information.  The first assumption is incorrect as a matter of law, and Acacia 
    has submitted no evidence to support the second. 
         A.       Acacia Cannot Prevail on a Claim For “Patent Misappropriation” 
                  Or “Equitable Ownership” Under Title 35 

         Title 35, Acacia’s sole source of authority for this claim, does not create a federal 
    cause of action for equitable ownership of patents.  Where, as here, a claim to patent 
    rights is based on contract, the claimant must seek a remedy under state law.   Arachnid, 



             2
                Acacia defines the “ViaSat Patent Family” as including “without limitation the 
   ’278 application; the ’263 application; U.S. Patent Nos. 8,559,828, 8,639,126, 8,687,974, 
   8,682,180, 8,693,897, 8,705,664, 8,705,977, 8,744,279, 8,886,051, 8,891,980, and 
   9,100,125; U.S. Patent Application Serial No. 14/742,812; PCT Application Nos. 
   PCT/US12/22231 and PCT/US12/22234; and any other U.S. or foreign patent 
   applications, U.S. or foreign issued patents, and PCT applications that claims priority in 
   whole or in part to any of these.”  Docket No. 3, p. 9 at ¶ 18. 
          
                      C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                   TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                            M ISAPPROPRIATION    
                                                   – 3 –                                        3:16­463­BEN­JMA  
                                                              
          
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    Inc. v. Merit Indus., Inc. , 939 F.2d 1574, 1580 (Fed. Cir. 1991).  In other words, Acacia’s 
    cause of action for “patent misappropriation” under Title 35 does not exist.   
         Acacia admits that ViaSat owns the legal title to the “ViaSat Patent Family,” and has 
    not assigned those rights to Acacia.  Docket No. 3, p. 10 at ¶¶ 22, 26, 28.  Acacia’s theory 
    is that it owns an “equitable interest” in the “ViaSat Patent Family” based on the terms of 
    the License Agreement.   Id.  p. 11­12 at ¶¶ 39­41.  But the law does not allow Acacia to 
    litigate this question under Title 35.  The preliminary question of equitable ownership is 
    not a federal question.   See Arachnid, Inc. v. Merit Indus., Inc. , 939 F.2d 1574, 1580 (Fed. 
    Cir. 1991);  see also Gellman v. Telular Corp. , No. 07­282, 2010 WL 5173213, at *4 
    (E.D. Tex. Dec. 14, 2010),  aff’d , 449 F. App’x 941 (Fed. Cir. 2011) (citing  Board of 
    Trustees of Leland Stanford Junior Univ. v. Roche Molecular Sys., Inc. , 583 F.3d 832, 841 
    (Fed. Cir. 2009),  aff’d , 563 U.S. 776 (2011)) (“The question of ownership of patent rights 
    is typically a question resolved by state courts under state law.”);  Id. at *5 (“Therefore, 
    even assuming an enforceable contract exists, Plaintiff would lack standing under this 
    agreement absent evidence that Seivert complied with that promise and assigned the 
    patent in suit because, at most, the unsigned agreement would provide Plaintiff equitable 
    rather than legal title.”) 
         Acacia cannot rely upon the patent laws to obtain the solely equitable relief it seeks: 
    transfer of property.  Where, as here, “there is no diversity jurisdiction and plaintiff’s 
    equitable title to the patent must be established solely by the application of equitable 
    principles, the case is not one arising under the patent laws, and the District Court is 
    without jurisdiction of the claim for infringement until and unless plaintiff’s claim of 
    equitable ownership is first adjudged valid by a court having jurisdiction of that 
    question.”   Papazian v. Am. Steel & Wire Co. of N. J. , 155 F. Supp. 111, 117 (N.D. Ohio 
    1957).  In this action, of course, Acacia is not asserting claims of infringement, but only 
    seeks a judgment requiring replevin of the “ViaSat Patent Family,” as well as damages 
    for their allegedly wrongful disclosure.  But those are state­law claims, not Federal, and 
    thus cannot proceed under Count I.  Two years after removing this action, Acacia has not 

                    C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                 TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                          M ISAPPROPRIATION    
                                                 – 4 –                                        3:16­463­BEN­JMA  
                                                            
         
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   offered any evidence or theory to support Count I as a continuing Federal claim, and the 
   Court should therefore grant ViaSat summary judgment.   
       B.     Acacia Presents No Facts to Support A Claim of Patent Ownership 
        Even if Acacia had articulated a claim for ownership of patents under the patent 
   laws— which it has not—Acacia has failed to present any evidence in support of such a 
   claim.  Acacia offers only one witness, Dr. Paul Prucnal, who addressed or even 
   considered whether the “ViaSat Patent Family” contains any Acacia intellectual property. 
   And Dr. Prucnal’s analysis is quite constrained.  He did not look at any actual patents in 
   the “ViaSat Patent Family,” but considered only the ’278 and ’263 provisional 
   applications.   See  Ex. 4 at Exhibit C (list of materials considered).  He also did not 
   consider any patent claims.  And he carefully did  not  say that ViaSat’s patents actually 
   claim any intellectual property of Acacia.  Instead, he opines only that one or both of the 
   ’278 and ’263 provisional applications                                                                 
                                   .  Exhibit 4 ¶¶ 16, 22, 26, 29, 35, 72, 75, 100, 102, 123, 145, 
   170.  Confronted at his deposition with Acacia’s complaint, Dr. Prucnal confirmed that he 
   was  not  opining that “ViaSat impermissibly used Acacia’s trade secrets by filing the 
   patent family.”  Ex. 5 at 244:12­17.  To the contrary, Dr. Prucnal explained:                              
                                       Id.  at 244:17­18. 
        This limited evidence of Acacia’s alleged ownership fails as a matter of law.  “It is a 
   bedrock tenet of patent law that ‘an invention presumptively belongs to its creator.’” 
   Israel Bio­Eng’g Project v. Amgen, Inc. , 475 F.3d 1256, 1263 (Fed. Cir. 2007) (quoting 
   Teets v. Chromalloy Gas Turbine Corp. , 83 F.3d 403, 406 (Fed. Cir. 1996)).  To overcome 
   this presumption, a party disputing ownership must establish ownership over  patent 
   claims , not merely statements in the specification.  “An inventor may assert ownership 
   only over those designs encompassed within the claims section of the patent.”   Rhino 
   Assocs., L.P. v. Berg Mfg. & Sales Corp. , 482 F. Supp. 2d 537, 544 (M.D. Pa. 2007) 
   (citing  Pfaff v. Wells Elecs., Inc.,  525 U.S. 55, 63 (1998);  Phillips v. AWH Corp. , 415 F.3d 
   1303, 1312 (Fed. Cir. 2005)).  As a result, courts considering ownership disputes look in 

                   C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                         M ISAPPROPRIATION    
                                                – 5 –                                        3:16­463­BEN­JMA  
                                                           
         
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   detail to the  claims  of each disputed patent, considering each claim separately because 
   “each claim must be considered as defining a separate invention.”   Israel Bio­Eng’g 
   Project , 4  75 F.3d at 1263;  see, e.g. ,  Lucent Techs., Inc. v. Gateway, Inc. , 543 F.3d 710, 
   721­722 (Fed. Cir. 2008) (comparing scope of joint research agreement against four 
   patent claims and concluding that it covered only two of them);  Israel Bio­Eng’g Project , 
   475 F.3d at 1265­68 (comparing scope of assignment agreement to three patent claims 
   and concluding that it covered only one of them). 
        This rule flows inevitably from an even­more­bedrock principle of patent law: 
   “Whatever the scope of the inventor’s right under the patent before the introduction of 
   claims, the law has limited that right to the claims as written in the patent.”   Teva Pharm. 
   USA, Inc. v. Sandoz, Inc. , 135 S. Ct. 831, 849 (2015)  Patent specifications can and often 
   do contain matter unrelated to the claims.  This “unclaimed subject matter,” however, is 
   not part of the invention , but instead is dedicated to the public.   See, e.g. , SanDisk Corp. 
   v. Kingston Tech. Co.,  695 F.3d 1348, 1363 (Fed. Cir. 2012)  (  “[W]hen a patent drafter 
   discloses but declines to claim subject matter, . . . this action dedicates that unclaimed 
   subject matter to the public.”).  The only portions of a patent that  anyone  can own are 
   those covered by the claims. 
        Acacia ignores all this black letter law, and thus ViaSat is entitled to summary 
   judgment.  Acacia’s  only  evidence to support its purported patent misappropriation claim 
   is Dr. Prucnal’s testimony that ViaSat                                                                    
                                         .   See  Exhibit 4 ¶¶ 16, 22, 26, 29, 35, 72, 75, 100, 102, 
   123, 145, 170.  Acacia has no evidence showing that these alleged trade secrets made 
   their way into any actual patents and, critically, no evidence that any of these alleged 
   trade secrets appear in any actual patent  claim .  The information disclosed in ViaSat’s 
   provisional application and specifications cannot be the subject of an ownership action. 
   Without evidence that ViaSat’s issued patent claims contain Acacia’s trade secrets, 
   Acacia cannot assert ownership over any patents in the “ViaSat Patent Family.”  As a 


                   C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                                TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                         M ISAPPROPRIATION    
                                                – 6 –                                        3:16­463­BEN­JMA  
                                                           
        
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                                      13


   result, the Court should grant ViaSat summary judgment on Count I of Acacia’s 
   counterclaims. 
       C.     This Court Should Remand This Action to State Court 
       On January 21, 2016, ViaSat filed this action in San Diego Superior Court.  Docket 
   No. 1, Ex. 1.  On February 19, 2016, Acacia removed this action to this Court.  Docket 
   No. 1.  Acknowledging that no diversity jurisdiction exists between two companies 
   incorporated in Delaware, Acacia based its removal solely on “federal question 
   jurisdiction, pursuant to 28 U.S. Code § 1338,” based in turn solely on Count I for 
   “Patent Misappropriation.”   Id.  at 1.À  Without Count I, Acacia has no basis to assert 
   federal subject­matter jurisdiction, and without subject­matter jurisdiction, the Court 
   should remand this matter to the Court in which ViaSat filed it:  San Diego Superior 
   Court.   See  28 U.S.C. § 1447(c) (“If at any time before final judgment it appears that the 
   district court lacks subject matter jurisdiction, the case shall be remanded.”) 
    
   Dated:  February 19, 2018                       Respectfully Submitted, 
        
    
                                                   s/ Kenneth M. Fitzgerald
                                                   _________________________________ 
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                                                               TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                        M ISAPPROPRIATION    
                                               – 7 –                                        3:16­463­BEN­JMA  
                                                          
        
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                                      13


                                                 Counter­Defendant ViaSat, Inc. 




                C ORRECTED  ME  MORANDUM IN  S UPPORT OF  MO
                                                             TION  F OR  S UMMARY  J UDGMENT ON  P ATENT 
                                                                                      M ISAPPROPRIATION    
                                             – 8 –                                        3:16­463­BEN­JMA  
                                                        
